  Case 8-19-73115-reg            Doc 45       Filed 05/16/19   Entered 05/16/19 16:20:28




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Counsel for SGM Foods, LLC

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------X
In re:
                                                                Chapter 11
        BAY TERRACE PLAZA, LLC,                                 Case No.: 19-73115 (REG)

                                             Debtor.
-----------------------------------------------------------X

    NOTICE OF APPEARANCE, DEMAND FOR SERVICE OF PAPERS AND
          REQUEST TO BE ADDED TO MASTER SERVICE LIST

        PLEASE TAKE NOTICE, that the undersigned appears in the above-captioned

case on behalf of SGM Foods, LLC (“SGM”), party-in-interest, pursuant to Rules 2002,

9007 and 9010 of the Federal Rules of Bankruptcy Procedure, demands that all notices

given or required to be given and all papers served in this case be delivered to and served

upon the party identified below at the following address and further requests to be added

to the Master Service List:

                                Kenneth A. Reynolds, Esq.
                     The Law Offices of Kenneth A. Reynolds, Esq., P.C.
                               105 Maxess Road, Suite 124
                                Melville, New York 11747
                           E-mail: KReynolds@mklawnyc.com


        PLEASE TAKE FURTHER NOTICE, that the foregoing demand includes not

only the notices and papers referred to in the above-mentioned Bankruptcy Rules, but

also includes, without limitation, all orders, applications, motions, petitions, pleadings,
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requests, complaints or demands, whether formal or informal, written or oral, transmitted

or conveyed by mail delivery, telephone, facsimile or otherwise, in this case.

       This Notice of Appearance and any subsequent appearance, pleading, claim or

suit is not intended nor shall be deemed to waive SGM’s: (i) right to have final orders in

non-core matters entered only after de novo review by a district court judge; (ii) right to

trial by jury in any proceedings so triable herein or in any case, controversy or proceeding

related hereto; (iii) right to have the reference withdrawn by the United States District

Court in any matter subject to mandatory or discretionary withdrawal; or (iv) other rights,

claims, actions, defenses, setoff or recoupments to which SGM is or may be entitled

under agreement, in law, or in equity, all of which rights, claims, actions, defenses,

setoffs, and recoupments expressly are hereby reserved.

Dated: Melville, New York
       May 16, 2019                          THE LAW OFFICES OF KENNETH A.
                                             REYNOLDS, ESQ., P.C.
                                             Counsel for SGM Foods, LLC


                                      By:    /s/ Kenneth A. Reynolds
                                             Kenneth A. Reynolds
                                             105 Maxess Road, Suite 124
                                             Melville, New York 11747
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